                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE



  UNITED STATES OF AMERICA

  v.                                                     Case No.: 1:17−cr−00079−HSM−SKL

  JEREMY L WOODS




                                         MEMORANDUM & ORDER
                                       ARRAIGNMENT ON INDICTMENT



     In accordance with Rule 10 of the Federal Rules of Criminal Procedure, an arraignment of the above
  named defendant on the indictment returned by the Grand Jury was held before the undersigned on Thursday,
  May 25,2017.

       The person present was the defendant named in the indictment.

     The defendant acknowledged having been provided with a copy of the indictment and acknowledged
  having the opportunity of reviewing the indictment with counsel.

     The defendant waived a formal reading of the indictment in open court, and entered not guilty pleas to
  each count of the indictment.

       Presently, this case is assigned the dates set forth in a separate Discovery and Scheduling Order.




  ENTER.

                                                         s/Susan K Lee
                                                         UNITED STATES MAGISTRATE JUDGE




Case 1:17-cr-00079-HSM-SKL Document 7 Filed 05/25/17 Page 1 of 1 PageID #: 12
